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Exhibit A
Bank Reconciliation January 2024

                                                                       Chapter 11 Trustee Account
                              M&T Bank x5243        Key Bank      TriState Capital  TriState Capital Bank      Totals
                                                                    Bank x4746              x4753
Beginning Bank Balance        $      5,269.57 $          251.00 $               ‐    $                ‐   $      5,520.57

           Receipts:
Deposits                      $    101,000.00   $              ‐   $           ‐     $              ‐    $    101,000.00
Service Fee Reimbursement     $         90.22   $              ‐   $           ‐     $              ‐    $         90.22
Transfers In                  $           ‐     $              ‐   $     47,949.19   $              ‐    $     47,949.19
           Sub‐Total          $    101,090.22   $              ‐   $     47,949.19   $              ‐    $    149,039.41

       Disbursements:
Checks & Debits               $     (58,249.00) $           ‐    $             ‐     $              ‐    $     (58,249.00)
Services Fees                 $         (71.38) $        (25.00) $             ‐     $              ‐    $         (96.38)
Transfers to Ch. 11 Trustee   $     (47,949.19) $           ‐    $             ‐     $              ‐    $     (47,949.19)
Services Fees ‐ Returned      $         (90.22) $           ‐    $             ‐     $              ‐    $         (90.22)
           Sub‐Total          $    (106,359.79) $        (25.00) $             ‐     $              ‐    $    (106,384.79)

Ending Bank Balance           $           ‐     $        226.00 $        47,949.19 $                ‐    $     48,175.19
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                                              TriState Capital Bank
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                                                 Grant Street, STE 03/28/24
                                                                   2700       Entered 03/28/24 12:23:20                      Desc
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                                                                                                                                   Period Covered:
                                                                                                               January 01, 2024 - January 31, 2024
                                                                                                                                       Page 1 of 2
Mr. William A. Homony                                                 Case Number                                                        23-10763
1628 John F. Kennedy Blvd.                                            Case Name                                          Stream TV Networks, Inc.
Suite 950                                                                                                                              DEBTOR
Philadelphia PA 19103
                                                                      Trustee Number                                                      580192
                                                                      Trustee Name                                          Mr. William A. Homony
                                                                                                                                         TRUSTEE

                                                                                                                                      Questions:
                                                                                                                                    800.634.7734
                                                                                                                    banking.services@stretto.com
                                                                                                                                 www.stretto.com
Consolidated Balance Summary

                                                                                                        Ending Balance         Ending Balance
Account                                                                                     Number
                                                                                                           Prior Period           This Period
Checking Account
  TRUSTEE CHECKING                                                                             4746                 $0.00              $47,949.19
  TRUSTEE CHECKING                                                                             4753                 $0.00                   $0.00
  Total                                                                                                             $0.00              $47,949.19


TRUSTEE CHECKING                                                                                             Account Number:               4746

Enclosures                                                        0   Beginning Balance                                                     $0.00
                                                                        + Total Additions                                              $47,949.19
                                                                        - Total Subtractions                                                $0.00
                                                                      Ending Balance                                                   $47,949.19


Credits

Date                         Description                                                                                                Additions
01-19                        STREAM TV - 5243 CORP PAY STREAM TV NETWORKS IN                                                           $47,949.19


Daily Balances

Date                                    Amount      Date                                 Amount       Date                               Amount
01-11                                     $0.00     01-19                              $47,949.19


TRUSTEE CHECKING                                                                                             Account Number:               4753

Enclosures                                                        0   Beginning Balance                                                     $0.00
                                                                        + Total Additions                                                   $0.00
                                                                        - Total Subtractions                                                $0.00
                                                                      Ending Balance                                                        $0.00


Daily Balances

Date                                    Amount      Date                                 Amount       Date                               Amount
01-11                                     $0.00
                                                          TriState Capital Bank
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                                                           Grant Street, STE 03/28/24
                                                                             2700       Entered 03/28/24 12:23:20                                   Desc
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                                                      Pittsburgh PA 15219        Page 6 of 11
                                                                                                                                                        Period Covered:
                                                                                                                                    January 01, 2024 - January 31, 2024
                                                                                                                                                            Page 2 of 2
                                                                    ERROR RESOLUTION NOTICE

In case of errors or questions about your electronic transfers, call, email or write us at the telephone number, email address or mailing address listed below, as
soon as you can, if you think your statement or receipt is wrong or if you need more information about a transfer listed on the statement or receipt. We must hear
from you no later than 60 days after we sent the FIRST statement on which the problem or error appeared.


               1. Tell us your name and account number (if any).
               2. Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe it is an error or why you need more
                  information.
               3. Tell us the dollar amount of the suspected error.


If you tell us orally, we may require that you send us your complaint or question in writing within 10 business days. We will determine whether an error occurred
within 10 business days (5 business days for debit card point-of-sale transactions and 20 business days if the transfer involved a new account) after we hear from
you and will correct any error promptly. If we need more time, however, we may take up to 45 days (90 days if the transfer involved a new account, a point-of-sale
transaction, or a foreign-initiated transfer) to investigate your complaint or question. If we decide to do this, we will credit your account within 10 business days for
the amount you think is in error, so that you will have the use of the money during the time it takes us to complete our investigation.


If we ask you to put your complaint or question in writing and we do not receive it within 10 business days, we may not credit your account. Your account is
considered a new account for the first 30 days after the first deposit is made, unless each of you already has an established account with us before this account is
opened. We will tell you the results within three business days after completing our investigation. If we decide that there was no error, we will send you a written
explanation. You may ask for copies of the documents that we used in our investigation.


Stretto
410 Exchange
Suite 100
Irvine CA 92602
Phone: 800-634-7734

Email: Banking.Services@Stretto.com
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                                                     Form 2
                                                                                                                               Page: 2
                                     Cash Receipts And Disbursements Record
Case No.:          23-10763                                   Trustee Name:                  William A. Homony (580192)
Case Name:         Stream TV Networks, Inc.                   Bank Name:                     TriState Capital Bank
Taxpayer ID #:     **-***4092                                 Account #:                     ******4746 CLEARING ACCOUNT
For Period Ending: 01/31/2024                                 Blanket Bond (per case limit): N/A
                                                              Separate Bond (if applicable): $41,000.00




                                                                                                 NET                      ACCOUNT
                                TOTAL - ALL ACCOUNTS                       NET DEPOSITS     DISBURSEMENTS                 BALANCES
                                ******4746 CLEARING ACCOUNT                      $47,949.19            $0.00                  $47,949.19

                                                                                $47,949.19                     $0.00           $47,949.19
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Exhibit B
Total Cash Reciepts

  Date Recevied                   Received from         Account        Purpose            Amount
    1/4/2024          VISUAL SEMICONDUCTOR INC.        M&T 5243        Deposit        $    28,000.00
    1/5/2024          VISUAL SEMICONDUCTOR INC.        M&T 5243        Deposit        $    73,000.00

                                                                       Total Receipts: $ 101,000.00
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Exhibit C
Total Cash Disbursements

  Date Recevied              Paid to                  Paid By               Account               Purpose               Amount
    1/4/2024           Amanda Gonzalez        Stream TV Networks, Inc.     M&T 5243              Consultant         $     1,750.00
    1/16/2024          Amanda Gonzalez        Stream TV Networks, Inc.     M&T 5243              Consultant         $     1,750.00
    1/9/2024             Bank Charges         Stream TV Networks, Inc.     M&T 5243             Bank Charges        $        71.38
    1/4/2024          Charles M. Robertson    Stream TV Networks, Inc.     M&T 5243              Consultant         $     6,250.00
    1/17/2024         Charles M. Robertson    Stream TV Networks, Inc.     M&T 5243              Consultant         $     6,250.00
    1/4/2024             Innoventures         Stream TV Networks, Inc.     M&T 5243              Consultant         $     2,500.00
    1/17/2024            Innoventures         Stream TV Networks, Inc.     M&T 5243              Consultant         $     2,499.00
    1/17/2024                Matt J Lo        Stream TV Networks, Inc.     M&T 5243              Consultant         $    10,000.00
    1/4/2024               Matthew Rajan      Stream TV Networks, Inc.     M&T 5243              Consultant         $     6,000.00
    1/4/2024               Nicole Maneen      Stream TV Networks, Inc.     M&T 5243              Consultant         $     2,291.67
    1/17/2024              Nicole Maneen      Stream TV Networks, Inc.     M&T 5243              Consultant         $     2,291.67
    1/4/2024                Sara Brewer       Stream TV Networks, Inc.     M&T 5243              Consultant         $     2,500.00
    1/16/2024               Sara Brewer       Stream TV Networks, Inc.     M&T 5243              Consultant         $     2,500.00
    1/4/2024                Suby Joseph       Stream TV Networks, Inc.     M&T 5243              Consultant         $     5,833.33
    1/16/2024               Suby Joseph       Stream TV Networks, Inc.     M&T 5243              Consultant         $     5,833.33
                                                                                           M&T Bank Disbursements   $    58,320.38

    1/31/2024              Bank Charges       Stream TV Networks, Inc.   Key Bank ‐ 3119        Bank Charges        $       25.00
                                                                                           Key Bank Disbursements   $       25.00

                                                                                               Total Disbursements: $    58,345.38
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Exhibit D
Total Cash Disbursements Paid on Behalf of Stream TV

  Date Recevied              Paid to                       Paid By                       Account            Purpose            Amount
     1/1/2024       Adobe                    Visual Technology Inovations Inc.   Mesh              Software               $         42.00
     1/2/2024       SunLife                  Visual Semiconductor                BofA 7952         Benefits               $         69.46
     1/2/2024       T‐Mobile                 Visual Semiconductor                Santander 1212    MR                     $        382.55
     1/2/2024       Matt Lo                  Visual Semiconductor                Santander 1212    Consultant             $        127.50
     1/3/2024       Amazon Web Services      Visual Semiconductor                BofA 7952         Office                 $        129.47
     1/3/2024       JMS                      Visual Semiconductor                BofA 7952         Roadshow               $      1,000.00
     1/3/2024       Bank of America          Visual Semiconductor                BofA 7952         Bank Charges           $         15.00
     1/4/2024       Bank of America          Visual Semiconductor                BofA 7952         Bank Charges           $          1.00
     1/4/2024       Bank of America          Visual Semiconductor                BofA 7952         Bank Charges           $          5.00
     1/4/2024       Bank of America          Visual Semiconductor                BofA 7952         Bank Charges           $          5.00
     1/4/2024       Matt Lo                  Visual Semiconductor                BofA 7952         Consultant             $      8,468.45
     1/4/2024       Raja Rajan               Visual Semiconductor                BofA 7952         Consultant             $      8,750.00
     1/4/2024       Dan R                    Visual Semiconductor                BofA 7952         Consultant             $      3,583.33
     1/4/2024       Bank of America          Visual Semiconductor                BofA 7952         Bank Charges           $         45.00
     1/4/2024       ST4M                     Visual Semiconductor                BofA 7952         Consultant             $     20,510.71
     1/5/2024       Bank of America          Visual Semiconductor                BofA 7952         Bank Charges           $          5.00
     1/5/2024       Bank of America          Visual Semiconductor                BofA 7952         Bank Charges           $          5.00
     1/5/2024       Bank of America          Visual Semiconductor                BofA 7952         Bank Charges           $          5.00
     1/8/2024       Matt Lo                  Visual Semiconductor                BofA 7952         Travel                 $      1,350.00
     1/8/2024       Rackspace                Visual Semiconductor                BofA 7952         Software               $         47.84
    1/10/2024       Bank of America          Visual Semiconductor                BofA 7952         Bank Charges           $         45.00
    1/10/2024       Itaya M                  Visual Semiconductor                BofA 7952         Consultant             $      2,300.00
    1/14/2024       Zoom                     Visual Technology Inovations Inc.   Mesh              Software               $         41.00
    1/17/2024       Raja Rajan               Visual Semiconductor                BofA 7952         Consultant             $      8,750.00
    1/17/2024       Dan R                    Visual Semiconductor                BofA 7952         Consultant             $      3,583.33
    1/18/2024       Bank of America          Visual Semiconductor                BofA 7952         Bank Charges           $          5.00
    1/21/2024       Box                      Visual Technology Inovations Inc.   Mesh              Software               $         60.00
    1/22/2024       Miron                    Visual Semiconductor                BofA 7952         Consultant             $      2,000.00
    1/23/2024       Bank of America          Visual Semiconductor                BofA 7952         Bank Charges           $          5.00
    1/23/2024       Hiscox                   Visual Semiconductor                Santander 1212    Insurance              $        144.78
    1/23/2024       Allied                   Visual Semiconductor                BofA 7952         Benefits               $     13,127.94
    1/24/2024       Bank of America          Visual Semiconductor                BofA 7952         Bank Charges           $          5.00

                                                                                                      Total Disbursements: $    74,614.36
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Exhibit E
Payments To Insiders

  Date Recevied             Paid to                  Paid By              Account              Purpose               Amount
     1/4/2024      Raja Rajan          Visual Semiconductor       BofA 7952            Consultant               $      8,750.00
     1/4/2024      Matthew Rajan       Stream TV Networks, Inc.   M&T 5243             Consultant               $      6,000.00
    1/17/2024      Raja Rajan          Visual Semiconductor       BofA 7952            Consultant               $      8,750.00

                                                                                    Total Insider Disbursements: $    23,500.00
